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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig              :       MDL No. 2179
       “Deepwater Horizon”                   :
       in the Gulf of Mexico,                :       SECTION: J
       on April 20, 2010                     :
                                             :
This Document Relates to:                    :       JUDGE BARBIER
No. 2:10-cv-04536                            :       MAGISTRATE SHUSHAN
                                             :


                                             ORDER

       CONSIDERING THE EX PARTE MOTION of the United States to File Under Seal

Exhibits to the United States’ Combined Memorandum in Support of Second Motion of the

United States’ for Partial Summary Judgment as to Liability and in Opposition to Cross-Motions

for Summary Judgment.

       IT IS HEREBY ORDERED that the Motion be and hereby is GRANTED, and that

Exhibits 5, an attachment to Exhibit 6 (Exhibit 1 thereto)), Exhibit 8 and Exhibit 9 to the United

States’ Combined Memorandum shall be filed under seal.

       New Orleans, Louisiana, this ___ day of _______, 2012.



                                                     ______________________________
                                                     UNITED STATES DISTRICT JUDGE
